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                                UNITED STATES DISTRICT COURT, DISTRICT OF NEW MEXICO
                                        VIOLATION OF SUPERVISION PROCEEDINGS
                                                   MINUTE SHEET
CR No: CR 19-0077 JB                                       USA vs.: Nissen
     Date: 1/18/2022                              Name of Deft: Michael Nissen
Before the Honorable James O. Browning
        Time In/Out: 1:27 pm – 2:18 pm                                 Total Time in Court (for JS10): 51 Minutes
                Clerk: L. Rotonda                                                    Court Reporter: J. Bean
                                                                                                     Ashley Reymore-Cloud
              AUSA: Paul Mysliwiec/Alex Uballez                                 Defendant’s Counsel: (appointed)
             VSR in: Albuquerque                                                             Interpreter: n/a
    Probation Officer:    Camilla Duarte                           Sworn?   Yes                                                           No
                                ADMISSION OR DENIAL OF PETITION’S ALLEGATIONS

    x      Defendant sworn
    x      Court advises Defendant of his/her rights
    x      Court advises of charges and possible penalty
    x      Defense Counsel advises that Defendant intends to deny alleged violations of SC, SPC
    x      AUSA proffers evidence as to alleged violations.
    x      Court finds violations of SC, SPC occurred
    x      Court proceeds to sentencing on violations

          SENTENCE IMPOSED                           Imprisonment (BOP): 3 months
    Supervised Release:    24 months                                   Probation:                                           500-Hour Drug Program
                                              SPECIAL CONDITIONS OF SUPERVISION

        No re-entry without legal authorization                                     Home confinement for ____ months ____ days
        Comply with ICE laws and regulation                                         Community service for ____ months ____ days
        Participate in/successfully complete substance abuse program                Reside halfway house ____ months
        Participate in/successfully complete mental health program                  Register as sex offender
        Refrain from use/possession of alcohol/intoxicants                          Participate in sex offender treatment program
x       Submit to search of person/property                                         Possess no sexual material
        No contact with victim(s) and/or co-defendant(s)                            No computer with access to online services
        No entering or loitering near victim’s residence                            No contact with children under 18 years
        Provide financial information                                               No volunteering where children supervised
        Waive right of confidentiality and allow the treatment provider to
        release treatment records                                                   Restricted from occupation with access to children
        No new credit charges                                                       No loitering within 100 feet of school yards
        Reside at/complete Residential Reentry Center                               Consent to USPO conducting periodic exam of computer
        Attend education/vocational training                                         Consent to USPO installing monitoring hardware
        Must not knowingly purchase, possess, distribute, administer, or
        otherwise use any psychoactive substances (e.g., synthetic
        marijuana, bath salts, etc.) that impair your physical or mental
        functioning, whether or not intended for human consumption.                  No loitering within 100 feet of school yards
        Must not possess, sell, offer for sale, transport, cause to be               If defendant is unemployed - Must participate in an educational or
        transported, cause to affect interstate commerce, import, or export          vocational services program and follow the rules and regulations
        any drug paraphernalia, as defined in 21 U.S.C. 863(d).                      of that program
        OTHER:
        You must submit to substance abuse testing to determine if you have used a prohibited substance. Testing shall not exceed more than 60 test(s)
        per year. Testing may include urine testing, the wearing of a sweat patch, and/or any form of prohibited substance screening or testing. You
        must not attempt to obstruct or tamper with the substance abuse testing methods. You may be required to pay all, or a portion, of the costs of
x       the testing.
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    You must participate in a mental health treatment program and follow the rules and regulations of that program. The probation officer, in
    consultation with the treatment provider, will supervise your participation in the program. You may be required to pay all, or a portion, of the
    costs of the program.

    You shall waive your right of confidentiality and allow the treatment provider to release treatment records to the probation officer and sign all
    necessary releases to enable the probation officer to monitor your progress. The probation officer may disclose the presentence report, any
    previous mental health evaluations and/or other pertinent treatment records to the treatment provider.

    You must not communicate, or otherwise interact, with any known gang member, Sovereign Citizen, or anti-government organization.

    You must not threaten or harass any individual or entity, through written, verbal or electronic communications.

x   Advised of Right to Appeal                   Waived Appeal Rights per Plea Agreement

x   Remanded to custody of USM                   Voluntary Surrender

    Recommended place(s) of incarceration:
OTHER COMMENTS:                         1:27 PM Court calls case, counsel enter appearances. Court addresses Defendant, reviews underlying
                                        factual allegations related to violations of conditions of supervised release. 1:32 PM USPO confirms
                                        that revocation is not mandatory in present matter. 1:33 PM Court reviews applicable sentencing
                                        parameters. Defense Counsel advises that Defendant intends to plead not guilty. 1:33 PM AUSA
                                        Mysliwiec addresses Court. AUSA calls USPO Duarte as witness (sworn); questions USPO Duarte on
                                        direct examination. 1:46 PM Defense Counsel examines USPO Duarte on cross examination. 1:49 PM
                                        Court excuses witness. 1:49 PM AUSA addresses Court regarding taking judicial notice of the fact that
                                        Defendant is the same individual who appeared before Court in trial. Defense Counsel indicates defers
                                        to Court. Court takes judicial notice as to same. 1:52 PM Defendant addresses Court. 1:53 PM
                                        AUSA addresses the Court. 1:55 PM AUSA argues in support of factual allegations set forth in
                                        Petition. 1:56 PM Defense Counsel addresses Court regarding Defendant’s refusal to sign documents,
                                        requests that Court consider alternative living arrangements. 1:58 PM Court finds that Defendant has
                                        violated Standard Condition of conditions of supervised release. Court makes further findings. Court
                                        finds that Defendant violated Special Condition of supervised release. 2:00 PM Defense Counsel
                                        addresses Court regarding requested sentence. 2:01 PM AUSA addresses Court regarding position as
                                        to appropriate disposition of case. 2:05 PM Court consults with USPO Duarte. 2:08 PM Court states
                                        proposed sentence. 2:17 PM AUSA addresses the Court. Court imposes sentence as stated. 2:18 PM
                                        Court reviews Defendant’s appeal rights, directs Defense Counsel to inform Defendant of same.
